  Case:
   Case21-30072    Document: 00515828504
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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                                                          NEW ORLEANS, LA 70130

                             April 20, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 21-30072     Anderson v. City of New Orleans
                       USDC No. 2:12-CV-859

The court has granted the motion to supplement the record in this
case with District Court docket entries 1421 – 1433.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Connie Brown, Deputy Clerk
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Mr. Theodore R. Carter III
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Ms. Churita H. Hansell
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